                                                IN THE UNITED STATES BANKRUPTCY COURT
                                               FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

                  IN RE: Brian Scott Gerlach a/k/a Brian S Gerlach                          BK NO. 17-00086 HWV
                         Lauren RB Gerlach a/k/a Lauren Rebecca
                  Gerlach f/k/a Lauren R. Slaugh                                            Chapter 13
                                               Debtor(s)



                                         ENTRY OF APPEARANCE AND REQUEST FOR NOTICES

                    To the Clerk:

                           Kindly enter my appearance on behalf of Isanthes LLC and index same on the master
                    mailing list.



                                                                                  Respectfully submitted,


                                                                                /s/${s:1:y:_________________________}
                                                                                 Michael Farrington
                                                                                 08 May 2023, 16:48:12, EDT




                                                                                  KML Law Group, P.C.
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               Case 1:17-bk-00086-HWV                           Doc 114 Filed 05/09/23 Entered 05/09/23 15:32:49
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